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                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF NEW YORK


GOVERNMENT OF THE UNITED
STATES VIRGIN ISLANDS,

                 Plaintiff,

v.                                   Case No. 22-cv-10904 (JSR)

JPMORGAN CHASE BANK, N.A.,

                 Defendant.




    DEFENDANT JPMORGAN CHASE BANK, N.A.’S MEMORANDUM OF LAW
IN OPPOSITION TO PLAINTIFF GOVERNMENT OF THE UNITED STATES VIRGIN
                    ISLANDS’ MOTION TO COMPEL
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                              PRELIMINARY STATEMENT

       USVI’s motion should be denied. It seeks to put JPMC to extraordinary, unnecessary,

and disproportionate burden for custodial ESI discovery, insisting that JPMC search the ESI

for many of the agreed upon custodians over a twenty-year period, including more than six

years after USVI concedes that JPMC terminated its banking relationship with Jeffrey

Epstein in 2013. There is no reasonable justification for such an excessive period given

USVI’s allegations—made after it spent years litigating with Epstein’s estate—that Epstein

misused his accounts at JPMC “[b]etween 2003 and 2013.” The searches JPMC has

proposed go beyond that window (for many custodians from 2000 to 2014) and, in an attempt

to avoid burdening the court with this dispute, JPMC offered targeted additional discovery

with respect to limited allegations relating to the period after Epstein left the bank. Forcing

JPMC to search another five years of ESI for all custodians would only add to the already

disproportionate burden it has undertaken in a case in which the USVI’s own press release

confirms it is seeking a double recovery for exactly the purported damages it has already

recovered from its settlement with Epstein’s estate for more than $105 million.

       USVI also brings this motion for the improper purpose of drawing press attention to

its specious and unnecessary arguments about JPMC’s CEO, Jamie Dimon, who JPMC in the

spirit of compromise, had already agreed to make an ESI custodian for a ten-year period

starting with the day he joined the company through 2014. Tellingly, Dimon is the only one

of the twenty-three agreed-upon custodians about whom USVI makes any individualized

argument (or even mentions by name). Even more tellingly, is the USVI does so by attaching

and misconstruing documents to erroneously argue that he has unique relevance. The

superfluity of those arguments, except as a (successful) way of garnering media attention, is

evident from fact that the latest of the documents USVI cited was sent more than two and a

half years before the date through which JPMC has already agreed to review Dimon’s ESI.

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       USVI’s Motion to Compel should be denied.

                                      BACKGROUND

A.     Allegations related to Epstein

       Prior to his arrest on federal charges in July 2019, Epstein was not the infamous,

household name that he became. He was investigated by federal and local authorities in

2005, arrested in 2006, and he resolved those charges by pleading guilty in Florida state court

in 2008 to two solicitation charges. Dkt. 16 (“FAC”) ¶¶ 36-38 1; see also Dep’t of Just.,

Executive Summary of Report: Investigation into the U.S. Attorney’s Office for the Southern

District of Florida’s Resolution of its 2006-2008 Federal Criminal Investigation of Jeffrey

Epstein and its Interactions with Victims during the Investigation at ii (Nov. 2020)

(hereinafter, “DOJ Report”). 2 That same year, Epstein and federal law enforcement entered

into a non-prosecution agreement. FAC ¶ 39; DOJ Report at i-ii. On the solicitation charges,

Epstein was sentenced to eighteen months in county jail, but he was allowed to leave on

unsupervised work release for up to twelve hours a day and only ended up serving thirteen

months of his sentence before he was released. FAC ¶ 38; DOJ Report at iii.

       After being released, Epstein returned to the USVI, registered as a sex offender, and

was feted by the USVI with more than $80 million in tax incentives. In July 2019, federal

prosecutors in New York indicted Epstein for sex trafficking between 2002 and 2004 and

arrested him. See FAC ¶ 32; Press Release, Jeffrey Epstein Charged In Manhattan Federal

Court With Sex Trafficking Of Minors (July 8, 2019), https://www.justice.gov/usao-

sdny/pr/jeffrey-epstein-charged-manhattan-federal-court-sex-trafficking-minors.




1
       For purposes of this Memorandum only, JPMC does not dispute the allegations in
USVI’s First Amended Complaint, because USVI relies on these allegations to establish the
scope of relevant discovery.
2
       Available at https://www.justice.gov/opr/page/file/1336471/download.
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B.         Allegations related to JPMC

           According to the USVI’s complaint, “[b]etween 2003 and 2013, Epstein and/or his

associates used Epstein’s [JPMC] accounts to make numerous payments to individual women

and related companies.” FAC ¶ 66. During this time period, he also made “significant cash

withdrawals,” id. ¶ 67, and “appeared to be misusing” accounts for charitable organizations,

id. ¶68.

           Based on these purported “red flags,” USVI claims that JPMC reached the wrong

conclusion in a “2013 compliance report” that reported ‘“nothing unusual,” “denie[d] that

any ‘unusual activity’ was detected,” and reported that “Epstein’s transaction activity appears

‘reasonable, normal, and expected for the type of business or industry in which the client

engages.’” Id. ¶ 69. “In July 2013,” JPMC “terminated [its] relationship with Epstein.” Id.

¶ 63. Thereafter, USVI alleges that




                                                                                       Id. ¶ 75.

           Based on those allegations, USVI asserts a parens patriae claim under the TVPA, a

derivative claim under the USVI’s Criminally Influence and Corrupt Organizations Act

(“CICO”), a second CICO claim based on a purported criminal failure to comply with federal

banking regulations                           (which USVI concedes requires a showing of

willfulness), and a claim under the USVI’s unfair competition statute.

C.         JPMC’s Agreement to Expansive Discovery

           Although each of USVI’s claims fails as a matter of law, see Dkts. 39 & 55, JPMC

has nonetheless agreed to provide expansive discovery, negotiating in good faith the

parameters of collection and review of ESI through joint meet and confers with counsel for

both USVI and Doe. See Dkt. 5 (consolidating this case with the Doe case “for all pre-trial

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purposes”). Through those discussions, JPMC has agreed to search the ESI of twenty-three

custodians, half of which for a fifteen-year period from 2000 to 2014, using a list of more

than three hundred broad search terms.

       At the outset of the parties’ discussions, JPMC proposed to search twelve custodians

for the period 2000 to 2013 in light of USVI’s allegations that Epstein made improper uses of

his accounts “[b]etween 2003 and 2013.” The twelve custodians included Staley; the private

bankers who covered Epstein’s accounts from 2000 to his involuntary exit in 2013 (Mary

Casey, Paul Morris, and Justin Nelson); other employees who worked on Epstein’s accounts

(Kyle Siebert and Tom McGraw); senior executives at JPMC’s private bank (Mary Erdoes

and Catherine Keating); and compliance and risk management personnel (William Langford,

Philip DeLuca, Jim Dalessio, and Maryanne Ryan). Ex. 1 (B. Conery email on 2/3/23 at

8:11p). While JPMC did not believe more was required (or even reasonable), over the course

of several exchanges between the parties, JPMC ultimately agreed, as a compromise, to

Plaintiffs’ requests for an additional eleven custodians—including JPMC CEO Jamie

Dimon—albeit using individualized start dates and, with two exceptions, a 2013 end date.

Ex. 2 (J. Butts email on 2/10/23 at 7:26p); Ex. 3 (J. Butts emails on 2/21/23 at 5:55p and

2/22/23 at 3:29p). USVI agreed to all custodians’ start dates, but it demanded, with the same

two exceptions, that JPMC search its custodians through 2019—that is, six years after JPMC

ended its relationship with Epstein. For half of the custodians that equates to a review period

of twenty years. Ex. 3 (D. Ackerman email on 2/22/23 at 4:26p).

       USVI’s rationale for this date range                                                   .

After further conferring with USVI, JPMC agreed to:




                  ; and (iii) extend the custodians with a 2013 end date to 2014. See Ex. 3

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Corp., No. 11-cv-0071, 2015 WL 13649823, at *3 (S.D.N.Y. July 29, 2015) (“[R]ote

allegations of ‘ongoing’ illegal activity, unaccompanied by allegations of specific instances

of wrongdoing, are insufficient to justify discovery beyond the time period during which

specific instances of wrongdoing have been alleged.”).

       The only specific wrongdoing USVI alleges after 2014 is



                                                            USVI’s meager arguments do not

justify such a broad expansion of the discovery period. It is telling that after taking broad

discovery in the Indyke action against Epstein’s estate, including third-party discovery from

JPMC, the only document USVI can muster as support for its purported need to go beyond

the 2014 date JPMC offered is a single email (Ex. J) between a JPMC employee and Epstein

in 2015 that refers to the possibility of a line of credit for a third party who was an existing

JPMC customer. In addition to USVI’s inability to muster anything else, this lone email is no

justification for any claimed wrongdoing, as TVPA claims require a benefit in return for

facilitating sex-trafficking, see 18 U.S.C. § 1591(a)(2) (requiring that defendant “benefits …

from participation in a venture” (emphasis added)). As USVI concedes in its complaint,

JPMC had terminated its banking relationship with Epstein long before 2015.

       Other than that lone email, all the USVI can do is speculate as to the possibility that in

connection with the implementation of an OCC Consent Order that had nothing to do with

Epstein, someone might have said something about him. That speculative assertion is, at

best, an impermissible request to go on a fishing expedition and not a justification for a five-

year extension of the discovery period. See Sky Med. Supply, 2016 WL 4703656, at *2. 4




4
       The OCC’s decision to waive, for purposes of this action, its supervisory privilege
over the consent order in exchange for not having to comply with the breathtakingly broad
Touhy request USVI sent the OCC is insignificant to this dispute. USVI Br. Ex. H. Among
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       In addition, the five-year expansion USVI seeks is wholly disproportionate to the

needs of the case. The proportionality doctrine set forth in Rule 26(b)(1)—consistent with

the “broad latitude” of district courts “to determine the scope of discovery and manage the

discovery process,” EM Ltd. v. Republic of Argentina, 695 F.3d 201, 207 (2d Cir. 2012)—

“serves to exhort judges to exercise their preexisting control over discovery more

exactingly,” Robertson v. People Mag., No. 14-cv-6759, 2015 WL 9077111 at *2 (S.D.N.Y.

Dec. 16, 2015). Among other things, it considers “the importance of the discovery in

resolving the issues,” and whether “the burden or expense of the proposed discovery

outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1). In that respect, “[p]roportionality and

relevance are ‘conjoined’ concepts; the greater the relevance of the information in issue, the

less likely its discovery will be found to be disproportionate.” Vaigasi v. Solow Mgmt. Corp.,

No. 11-cv-5088, 2016 WL 616386, at *14 (S.D.N.Y. Feb. 16, 2016).

       The proportionality factors strongly favor denying USVI’s motion. Rule 26 instructs

courts to consider “the importance of the issues at stake in the action, the amount in

controversy, the parties’ relative access to relevant information, the parties’ resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit.” F.R.C.P. 26(b)(1). USVI’s argument

focuses almost entirely on the importance of sex trafficking as an issue. While JPMC does

not dispute that sex trafficking is an important issue, it is well addressed by the extraordinary

discovery JPMC has agreed to provide, including 15 years of broad discovery along with

                                        .

       As to the amount in controversy, the only purported damage USVI has identified is

$80.5 million of tax incentives it gave Epstein (incentives it knowingly provided while he



other things, the OCC took no stance on relevance, burden, proportionality, or the many other
issues at issue here.
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was registered with the USVI as a sex offender). Ex. 4 (USVI Responses and Objections to

JPMC’s First Set of Interrogatories). That claim demonstrates the absence of any damage, as

the USVI announced prior to filing this action that it had fully recovered that sum—and

more—from Epstein’s estate. Ex. 5 (Press Release, U.S. Virgin Islands Attorney General

Settles Sex Trafficking Case Against Estate of Jeffrey Epstein and Co-Defendants for Over

$105 Million (Dec. 1, 2022) (quoting the USVI Attorney General as stating “[t]he settlement

… will return to the Virgin Islands more than $80 million in economic development tax

benefits”)). And while USVI’s CICO claims provide a mechanism for civil penalties, the

statute caps civil penalties at $1 million in the aggregate. 14 USVI § 607(e).

        As to access to information, while it is true that JPMC has access to its own

documents, USVI has access to a massive trove of information developed during its litigation

against the Epstein estate, including documents from countless third parties (like JPMC)

USVI subpoenaed along the way (as part of an apparently still-ongoing investigation). If

there were evidence supporting discovery from JPMC from 2014-2019, USVI would have

found it.

        Finally, in contrast with USVI’s paltry (if that) allegations of relevance, the burden

imposed by an across-the-board expansion of discovery for a five-year period, i.e., for all

twenty-three custodians and all 300+ search terms, is extraordinary. Expanding the date

range for USVI’s custodians as USVI suggests would increase the number of documents

captured by the custodian/search term protocol from at least 364,000 to at least 694,000. 5

When compared with USVI’s tenuous arguments regarding relevance, this level of expansion

is unjustified.




5
       Because the parties only reached agreement on search terms and custodians late last
week, JPMC is still collecting data for a handful of custodians and has not been able to
confirm final numbers for these parameters, which will likely increase when finalized.
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B.     USVI’s Exaggerated and Unnecessary Arguments About JPMC’s CEO.

       The disingenuousness of USVI’s motion is further evident from the fact that, of the

twenty-three ESI custodians that the parties agreed upon, the only custodian USVI singles out

is JPMC’s CEO. In fact, although JPMC had already agreed to make him a custodian, USVI

devoted half of its motion to Dimon, ending with a duplicative claim for relief. Compare

Dkt. 58 (“USVI MOL”) at 5 (“[T]he Court should compel JPMorgan to provide …

documents … through and including all of 2019”) with id. at 7 (“JPMorgan should be

required to produce documents for Mr. Dimon … through and including 2019”). There is no

reason for USVI to have made this argument other than drawing further media attention to

this case in search of headlines. See, e.g., Dimon Records Sought in Suits over JPMorgan’s

Epstein Ties, Bloomberg (Feb. 23, 2013), https://www.bloomberg.com/news /articles/2023-

02-23/jamie-dimon-records-sought-in-suits-over-jpmorgan-s-epstein-ties; JPMorgan should

reveal more about CEO Dimon’s role in Epstein accounts -U.S. Virgin Islands, Reuters (Feb.

23, 2023), https://www.reuters.com/legal/jpmorgan-should-reveal-more-about-ceo-dimons-

role-epstein-accounts-us-virgin-2023-02-24/.

       To be clear, although JPMC agreed to include him as a custodian, Dimon is not

relevant to this action. He was not involved in any decisions regarding Epstein’s account, nor

                                                                                             .

Out of the inordinate number of documents USVI obtained in its litigation with Epstein’s

estate, USVI’s arguments about Dimon’s purported relevance are based on

mischaracterizations or selective reference to only portions of a few documents, and, in one,

trumpeting an errant reference. For example, USVI describes one document (Ex. E) as

reflecting “Epstein’s arrangement of meetings between Dimon or Staley and foreign

government finance official,” omitting the fact that Staley rebuffed Epstein’s request,

responding that Dimon “is in Asia.” In another, USVI describes a document (Ex. F) as

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reflecting “Epstein’s introduction of American financier as potential client being reviewed by

Dimon,” when the email’s reference to “our ceo” refers to a conversation with “[J]ohn

[Duffy],” who was then the CEO of JPMC’s US Private Bank.

       Nevertheless, despite Dimon’s lack of relevance, JPMC agreed to accept him as a

custodian to demonstrate that to Plaintiffs and to avoid burdening the Court with this issue.

Unfortunately, despite this agreement, USVI decided to take up the Court’s time anyway.

But nothing in USVI’s motion provides a credible basis for continuing JPMC’s search

beyond 2014. The three documents USVI cites—from 2008, 2009, and 2012, USVI MOL at

7—fall within the over-ten-year JPMC agreed to search. Dimon’s ESI, which begins on the

day he joined JPMC in July 2004 through the end of 2014. 6 And nothing in those documents

suggest any involvement by Dimon after that date.

                                       CONCLUSION

       For the foregoing reasons, USVI’s Motion to Compel should be denied.




6
        Without anything of real import to say, USVI spills significant ink addressing the
question of whether the apex doctrine is relevant for document discovery purposes. USVI
MOL at 6. Obviously, in agreeing to accept Dimon as a custodian, JPMC has not taken that
position. The doctrine will, however, become relevant if plaintiffs seek Dimon’s deposition,
because the document review JPMC has agreed to do will by then have refuted USVI’s
insistence that Dimon has some unique relevance.
                                              10
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Dated: February 28, 2023         Respectfully submitted,

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